       Case:2:12-cv-06867-WB
       Case  19-2761 Document:  36 Page:
                             Document 376 1FiledDate Filed: 05/15/2020
                                                 05/15/20   Page 1 of 2




      UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                                                    BCO-073
                                   No. 19-2761

                               DARYOUSH TAHA,
                      Individually and on Behalf of All Others
                                 Similarly Situated

                                         v.

                      BUCKS COUNTY PENNSYLVANIA;
                BUCKS COUNTY CORRECTIONAL FACILITY;
                     UNPUBLISH LLC, d/b/a Mugshots.com;
                 CITIZEN INFORMATION ASSOCIATES, LLC
                d/b/a Mugshotsoline.com and Bustedmugshots.com

                               Bucks County Pennsylvania;
                            Bucks County Correctional Facility,
                                                     Appellants

                           (E.D. Pa. No. 2-12-cv-06867)

Present: AMBRO and GREENAWAY, JR., Circuit Judges

     1. Joint Motion filed by Appellants Bucks County Correctional Facility and
        County of Bucks for Partial Remand.



                                                    Respectfully,
                                                    Clerk/tmm

_________________________________ORDER________________________________
The foregoing motion for partial remand is GRANTED. The Court will retain
jurisdiction.


                                                    By the Court,

                                                    s/ Thomas L. Ambro
                                                    Circuit Judge
       Case:2:12-cv-06867-WB
       Case  19-2761 Document:  36 Page:
                             Document 376 2FiledDate Filed: 05/15/2020
                                                 05/15/20   Page 2 of 2




Dated: May 15, 2020
Tmm/cc: Alan E. Denenberg, Esq.
Robert J. LaRocca, Esq.
Jonathan Shub, Esq.
Frank A. Chernak, Esq.
Caroline L. Rice, Esq.
Burt M. Rublin, Esq.
Brett M. Waldron, Esq.
